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  IT IS ORDERED as set forth below:



  Date: June 21, 2022
                                                       ________________________________
                                                                   Paul Baisier
                                                           U.S. Bankruptcy Court Judge

 _______________________________________________________________


                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


IN RE:                                         |      CASE NO. 22-52950-PMB
                                               |
ATLANTA LIGHT BULBS, INC.                      |      CHAPTER 11
                                               |
               Debtor.                         |      JUDGE BAISIER

                         ORDER APPROVING APPLICATION
                     OF PROFESSIONAL, SUBJECT TO OBJECTION
       Trustee filed on June 20, 2022 (Docket No. [78]) an Application for Approval of

Employment of Hays Financial Consulting, LLC (the “Applicant”) as accountants for the Trustee

in this case (the “Application”). No hearing is necessary on the Application absent the filing

of an objection to it. Pursuant to a certificate of service filed with or attached to the Application,

the Application has been served on the United States Trustee as required by Federal Rule of

Bankruptcy Procedure 2014, and on lenders with an interest in all or substantially all of the

Debtor’s assets, any party that has filed a notice of appearance or request for notices in this case

as of the date of the filing of the Application, and the twenty (20) largest unsecured creditors on

the list filed by the Debtor pursuant to Federal Rule of Bankruptcy Procedure 1007(d). No further
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service of the Application is necessary.

          The Application and accompanying affidavit of S. Gregory Hays demonstrate

preliminarily that the Applicant is a firm of accountants and is disinterested. Accordingly, it is

hereby

          ORDERED that, pursuant to 11 U.S.C. § 327 and Federal Rule of Bankruptcy Procedure

2014, the Application is GRANTED, and Trustee is authorized to employ the Applicant as its

accountants during the Debtor’s Chapter 11 case, subject to objection as provided for herein; and

it is further

          ORDERED that compensation may be paid and expenses reimbursed to the Applicant only

pursuant to an application filed and approved by this Court pursuant to 11 U.S.C. §§ 330, 331 and

Federal Rule of Bankruptcy Procedure 2016, unless the Court orders otherwise; and it is further

          ORDERED that any party in interest shall have twenty-one (21) days from the service of

this Order to file an objection to the Application and/or the relief provided in this Order; and it is

further

          ORDERED that if an objection is timely filed counsel for the Trustee will set the

Application and all such objections for hearing pursuant to the Court’s Open Calendar

Procedures; and it is further

          ORDERED that if no objection to this Order is timely filed, this Order shall be a final Order

approving the Application; and it is further

          ORDERED that counsel for the Trustee shall, within three (3) days of the entry of this

Order, cause a copy of this Order to be served by first class mail, postage
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prepaid,1 on all parties served with the Application, and shall file promptly thereafter a certificate

of service confirming such service.

                                              [END OF DOCUMENT]




Prepared and presented by:

/s/ S. Gregory Hays
S. Gregory Hays
Chapter 11 Trustee
Hays Financial Consulting, LLC
2964 Peachtree Street, NW
Suite 555
Atlanta, Georgia 30305
(404) 926-0060




 1
  First class mail service is not required if the recipient is a registered ECF user who has agreed to waive all
 other service in favor of ECF service pursuant to Bankruptcy Local Rule 5005-8, in which case ECF notification
 shall serve as the required service. The party certifying service should certify ECF service on such recipients.
